    Case
     Case2:20-cv-00980-DJP-EJD
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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

AHMED BAQER, KLABERT JOSEPH               *     NO. 2020-CV-00980
GUILLOT, JR., and KLABERT JOSEPH          *
GUILLOT, SR.                              *
                      Plaintiffs          *     JUDGE PAPILLION
VERSUS                                    *
                                          *
ST. TAMMANY PARISH GOVERNMENT,            *     MAGISTRATE DOSSIER
a/k/a ST. TAMMANY PARISH COUNCIL,         *
ST. TAMMANY PARISH SHERIFF’S              *
OFFICE, RANDY SMITH, in his official      *     JURY DEMAND
and individual capacity, RODNEY J.        *
STRAIN, in his official and individual    *
capacity, GREG LONGINO, in his official   *     COMBINED WITH Louviere v.
and individual capacity, and LACEY        *     St. Tammany Parish Government
KELLY, in her official and individual     *     No. 2:20-cv-01840-WBV-DPC
and individual capacity, and LACEY        *
KELLY, in her official and individual     *
capacity                                  *     ALL CASES
                            Defendants    *
******************************************************************************


                     DEFENDANT’S MOTION FOR RECONSIDERATION


        NOW INTO COURT, through undersigned counsel, comes Defendant, Sheriff Randy

Smith, in his official capacity, who respectfully seeks reconsideration pursuant to Federal Rule of

Civil Procedure 54(b) of this Court’s March 28, 2025 Order (R. Doc. 457), on Defendants’ Motions

for Summary Judgment (R. Docs. 387, 388, 390, 391 & 392). Defendant avers that reconsideration

of this Court’s Order is necessary to address both a manifest error in law and fact. 1 For the reasons

set forth in the accompanying memorandum in support, Defendant’s motion should be granted.




1
 Gulf Island Shipyards, LLC v. LaShip, LLC, 2024 WL 1794361, at *3 (E.D. La. 2024) (quoting Henry v. New Orleans
La. Saints, L.L.C., 2016 WL 3524107, at *2 (E.D. La. 2016); Fields v. Pool Offshore, Inc., 1998 WL 43217, at *2
(E.D. La. 1998).

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                                      Respectfully submitted,

                                      MILLING BENSON WOODWARD L.L.P.

                                      _s/ Andrew R. Capitelli_________________
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                                      Counsel for Defendants

                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing was electronically filed with the Clerk of

Court of the United States District Court for the Eastern District of Louisiana on Wednesday, April

09, 2025, by using the CM/ECF system, which system will send a notice of electronic filing to

appearing parties in accordance with the procedures established.

                                    _s/ Andrew R. Capitelli__
                                      Andrew R. Capitelli




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